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				AMENDMENT TO RULES FOR MANAGEMENT OF COURT FUND2014 OK 64Decided: 07/17/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 64, __ P.3d __
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


Amendment to the Rules for Management of the Court Fund




ORDER


Rules 1 and 3 of the Rules for Management of the Court Fund, Okla. Stat. tit. 20, ch. 18, app. 1 (2011), are hereby amended as set out in the attached exhibit.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 26th day of June, 2014.


/S/CHIEF JUSTICE



Colbert, C.J., Reif, V.C.J, Kauger, Watt, Edmondson, Taylor and Gurich, JJ., concur;

Combs, J., concurs in part; dissents in part



Combs, J., concurring in part; dissenting in part
I concur in Rule 3, but dissent to Rule 1.



Winchester, J., not voting.



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Rule 1

(a) On or before May 1 of each year, beginning May 1, 1977, 2015 each court fund's governing board, under the direction and with the approval of the district judge-member thereof, 20 O.S.19712011, § 1304(a), shall submit to the Administrative Director of the Courts, for approval by the Chief Justice, the district court's proposed operating budget for the ensuing fiscal year (July 1 - June 30). The request, on the form to be provided, shall estimate (1) the needs by specified categories of expense and (2) the anticipated court fund revenue. Estimates shall be based on experience of the preceding fiscal year. An upward or downward variance in any expense category of more than 10% from last year's budget figure shall be accompanied by brief explanation.

(b) Budget needs shall be submitted separately for each statutorily authorized category. Approval will be effected in one lump sum for all categories except those hereinafter called "restricted". For each restricted category there will be a separate budget limit. Restricted categories are:



(1) compensation of bailiffs

(2) (1) compensation of part-time help (court clerk employees, part-time bailiffs, and temporary acting court reporters)

(3) (2) renovating and remodeling

(4) (3) maintenance of courtrooms

(5) (4) furniture and fixtures

(6) (5) equipment

(7) (6) maintenance (office machines)

(8) (7) juror expenses

(9) (8) trial court attorneys

(10) (9) appeals attorneys

(11) (10) postage and freight



The total approved lump-sum budget may be used, under the direction and with the approval of the district judge-member of the court fund governing board, for expending funds in any category in a lump-sum budget. Individual budget limits in the restricted budget may not be used for any category other than that for which they were approved.

(c) No money may be expended from the court fund for any purpose unless the statutorily authorized expense sought to be paid falls within the approved budget limit that is applicable to that category of expense. Any expenditure that falls within the applicable approved budget limit shall be considered as paid out with prior written approval of the Chief Justice.

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Rule 3

Claims for compensation of bailiffs which fall within the approved budget limit may be paid to the following persons employed as bailiffs: If a part-time bailiff is necessary, a district or an associate district judge may employ a part-time bailiff to be compensated at an hourly rate of $8.00 per hour or as otherwise provided by the Supreme Court pursuant to 20 O. S, 2011, § 125:

(a) one full-time part-time bailiff for a district or an associate district judge regularly serving in a county with a population in excess of thirty thousand (30,000), according to the last official census made by the U. S. Census Bureau, who was appointed or will be appointed pursuant to an order which is on file and who is to be paid at the current statutory monthly salary rate of $8.00 per hour. .The monthly salary effective July, 1980 as provided in SB 396, 1980 Legislature, amending 20 O.S.Supp. 1979, § 125, is as follows:



Counties over 30,000 population-not less than $300 and not more than $700 per month.

Counties over 100,000 population-salary not to exceed $758 per month when bailiff is a competent legal secretary qualified in typing, shorthand or stenograph machine, plus general office procedures.



If a full-time bailiff is not necessary, a district or an associate district judge may employ a part-time bailiff to be compensated on a per-day basis at the statutory rate of $27 per day.

(b) one part-time bailiff for a district or an associate district judge regularly serving in a county with a population of less than thirty thousand (30,000), according to the last official census made by the U.S. Census Bureau, who was appointed or will be appointed pursuant to an order which is on file and who is to be paid at the current statutory rate of $27 per day.

(c) (b) one per-diem bailiff for a special judge whose employment stands authorized by a written order of the presiding judge of the judicial administrative district which order limits the number of days the bailiff is to serve at the current statutory rate of $27 per day $8.00 per hour.

(d) (c) any person employed at the current statutory rate of $27 per day $8.00 per hour as a second bailiff for the duration of a trial in which the jurors have been ordered kept together overnight.

(e) (d) any person employed as a bailiff at the current statutory rate of $27 per day $8.00 per hour temporarily to take charge of a jury being empaneled before a judge while another jury is deliberating upon a verdict that is to be returned to the same judge.

(f) (e) when a judge is assigned to hold court outside of his judicial district or in the case of an associate district judge serving outside of the county in which he regularly serves, or when a retired judge is assigned to hold court, a bailiff may be appointed for such judge in the county of the assignment and for its duration if the order of assignment so authorizes. The order of assignment shall be attached to the claim to afford a basis of authority for payment of such bailiff's compensation. The bailiff so authorized shall be paid at the current statutory rate of $27 per day $8.00 per hour.

No part-time bailiff may be paid compensation for services unless rendered while actually attending the court or having charge of a jury. No district judge who sits in more than one county may employ more than one full-time bailiff in his judicial district. Another bailiff or bailiffs, if necessary, may be engaged by such judge on a per-diem basis while he is holding court in a county other than that in which a full-time bailiff is employed.





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Title 20. Courts&nbsp;CiteNameLevel&nbsp;20 O.S. Rule 1, Operating Budget - Submission - Form - Budget Needs - Limitation on ExpendituresCited&nbsp;20 O.S. Rule 3, Bailiffs - Compensation ClaimsCitedCitationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		